      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 1 of 26




                 IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF TEXAS
                               EL PASO DIVISION


 LEAGUE OF UNITED LATIN                          )
 AMERICAN CITIZENS, SOUTHWEST                    )
 VOTER REGISTRATION EDUCATION                    )
 PROJECT, MI FAMILIA VOTA,                       )
 AMERICAN GI FORUM, LA UNION                     )
 DEL PUEBLO ENTERO, MEXICAN                      )
 AMERICAN BAR ASSOCIATION OF                     )
 TEXAS, TEXAS HISPANICS                          )
 ORGANIZED FOR POLITICAL                         )
 EDUCATION, WILLIAM C.                           )
 VELASQUEZ INSTITUTE, FIEL                       )
 HOUSTON INC., TEXAS                             )
 ASSOCIATION OF LATINO                           )
 ADMINISTRATORS AND                              )
 SUPERINTENDENTS, EMELDA                         )
 MENENDEZ, GILBERTO MENENDEZ,                    )           Case No. 3:21-cv-259
 JOSE OLIVARES, FLORINDA                         )
 CHAVEZ, and JOEY CARDENAS,                      )
                                                 )
         Plaintiffs                              )
                                                 )
 v.                                              )
                                                 )
 GREG ABBOTT, in his official capacity as        )
 Governor of the State of Texas; JOSE A.         )
 ESPARZA, in his official capacity as Deputy     )
 Secretary of the State of Texas,                )
                                                 )
       Defendants.                               )
 ____________________________________            )



            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

                                             I.
                                       INTRODUCTION

1.      Plaintiffs are individual registered voters and a coalition of organizations that seek--on

behalf of themselves and their members--declaratory and injunctive relief to enforce the
     Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 2 of 26




Fourteenth Amendment to the United States Constitution and the Voting Rights Act of 1965.

Plaintiffs challenge the redistricting plans adopted by the Texas Legislature for the State House,

State Senate, Congress and State Board of Education (“SBOE”).

2.      The 2020 Census reported that Texas’s population increased by 3,999,944 since 2010. As

a result, Texas is the only one of the fifty states to have been apportioned two additional seats in

the U.S. House of Representatives.

3.      More dramatic were the demographic changes within Texas. Over the past decade, Latinos

constituted 50% of the population increase in Texas, and racial minorities comprised 95% of the

population increase in Texas (including persons who identify as having more than one race).

4.      According to the U.S. Census, from 2010 to 2020, the Hispanic population in Texas

increased by 1.98 million, and the White Non-Hispanic (“Anglo”) population in Texas increased

by 187,252.

5.      Based on recent demographic trends, the Texas State Data Center estimates that the Latino

population of Texas will match the Anglo population in 2021.

6.      The 2020 Census also revealed that the current Texas House, Senate and congressional

redistricting plans, which were ordered into effect by the court in Perez v. Abbott, No. 5:11-cv-

00360 (W.D. Tex.) (the “Perez court”) and used in the 2020 General Election,1 do not reflect the

population shifts that occurred during the last decade and are unconstitutionally malapportioned.

The SBOE redistricting plan, enacted by Texas in 2011, is also unconstitutionally malapportioned.

7.      On October 15, 2021 and October 16, 2021, the 87th Texas Legislature approved




1 The current redistricting plans are also known as H2100, S2100, C2100 and E2100 and are available on

the website of the Texas Legislative Council at https://dvr.capitol.texas.gov/.


                                                      2
     Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 3 of 26




redistricting plans for the Texas House, Senate and SBOE.2 On October 17, 2021, a conference

committee of the Texas House and Senate reported out a redistricting plan for Congress.

8.      Plaintiffs seek a declaratory judgment that the redistricting plans for the Texas House (Plan

H2316), Senate (Plan S2168), SBOE (Plan E2106) and Congress (C2193) violate their civil rights

because the plans unlawfully dilute the voting strength of Latinos. Plaintiffs further seek a

declaratory judgment that the challenged redistricting plans intentionally discriminate against them

on the basis of race and national origin. Plaintiffs seek a permanent injunction prohibiting the

calling, holding, supervising, or certifying of any future Texas House, Senate, Congressional and

SBOE elections under the challenged redistricting plans. Plaintiffs further seek the creation of

Texas House, Senate, Congressional and SBOE redistricting plans that will not cancel out,

minimize or dilute the voting strength of Latino voters in Texas. Finally, Plaintiffs seek costs and

attorney’s fees.

                                               II.
                                          JURISDICTION

9.      Jurisdiction is based upon 28 U.S.C. § 1343(3) & (4) and upon 28 U.S.C. § 1331 for causes

of action arising from 52 U.S.C. §§ 10301 and 10304. Jurisdiction for Plaintiffs’ claim for

declaratory relief is based upon 28 U.S.C. §§ 2201 and 2202. Jurisdiction for Plaintiffs’ claims

under the Fourteenth Amendment to the U.S. Constitution is based upon 42 U.S.C. § 1983 and 28

U.S.C. § 1331. Jurisdiction for Plaintiffs’ claim for costs and attorney’s fees is based upon 42

U.S.C. § 1988 and 52 U.S.C. § 10310(e). Venue is proper in this Court under 28 U.S.C. 1391(b)



2 The redistricting plans passed by the 87th Texas Legislature on October 15 and 16, 2021 are known as

H2316, S2168 and E2106 and are available on the website of the Texas Legislative Council at
https://dvr.capitol.texas.gov/. The congressional redistricting plan reported out of conference committee
on October 17, 2021 is known as C2193 and is available on the website of the Texas Legislative Council at
https://dvr.capitol.texas.gov/.


                                                   3
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 4 of 26




(2) because a substantial part of the events and omissions giving rise to the claims in this case

occurred in the Western District of Texas and in El Paso County.

                                              III.
                                          PLAINTIFFS

10.     The plaintiff organizations in this case are members of the Texas Latino Redistricting Task

Force, an unincorporated association of individuals and organizations committed to securing fair

redistricting plans for Texas.

11.     Plaintiff LEAGUE OF UNITED LATIN AMERICAN CITIZENS (“LULAC”) is a

national organization that works to advance the economic condition, educational attainment,

political influence, housing, health and civil rights of Hispanic Americans through community-

based programs operating at more than 1,000 LULAC councils nationwide.                LULAC is a

membership organization, and members of LULAC reside throughout Texas. LULAC members

in Texas include: Latino registered voters of Texas who are injured by the dilution of Latino voting

strength statewide, and Latino registered voters of Texas who reside in districts that are

overpopulated relative to other districts in the state and also districts whose boundaries dilute

Latino voting strength.

12.     Plaintiff SOUTHWEST VOTER REGISTRATION EDUCATION PROJECT (“SVREP”)

is a non-profit and non-partisan organization committed to promoting and increasing the

participation of Latinos and other minority communities in the democratic process through voter

registration, voter education and voter participation activities. SVREP conducts its activities with,

among others: Latino registered voters of Texas who are injured by the dilution of Latino voting

strength statewide, and Latino registered voters of Texas who reside in districts that are

overpopulated relative to other districts in the state and also districts whose boundaries dilute

Latino voting strength.

                                                 4
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 5 of 26




13.     Plaintiff MI FAMILIA VOTA is a national civic engagement organization that unites

Latino, immigrant and allied communities to promote social and economic justice through

citizenship workshops, voter registration and voter participation. MI FAMILIA VOTA conducts

its activities with, among others: Latino registered voters of Texas who are injured by the dilution

of Latino voting strength statewide, and Latino registered voters of Texas who reside in districts

that are overpopulated relative to other districts in the state and also districts whose boundaries

dilute Latino voting strength.

14.     Plaintiff AMERICAN GI FORUM (“GI FORUM”) is a veterans organization dedicated

to addressing problems of discrimination and inequities endured by Hispanic veterans. GI

FORUM is a membership organization, and members of GI FORUM reside throughout Texas.

Members of GI FORUM in Texas include: Latino registered voters of Texas who are injured by

the dilution of Latino voting strength statewide, and Latino registered voters of Texas who

reside in districts that are overpopulated relative to other districts in the state and also districts

whose boundaries dilute Latino voting strength.

15.     Plaintiff LA UNIÓN DEL PUEBLO ENTERO (“LUPE”) is a non-partisan membership

organization founded by labor rights activists César Chávez and Dolores Huerta. LUPE’s mission

is to build strong, healthy communities in the Texas Rio Grande Valley through community

organizing and civic engagement. LUPE is a membership organization, and members of LUPE

reside primarily in the Rio Grande Valley of Texas. Members of LUPE include: Latino registered

voters of Texas who are injured by the dilution of Latino voting strength statewide, and Latino

registered voters of Texas who reside in districts that are overpopulated relative to other districts

in the state and also districts whose boundaries dilute Latino voting strength.

16.     Plaintiff MEXICAN AMERICAN BAR ASSOCIATION OF TEXAS (“MABA-TX”) is a



                                                   5
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 6 of 26




professional association of Latino lawyers located in Texas. The goals of MABA-TX include: to

speak on behalf of the Latino community on legal issues affecting the community; to serve the

Latino populace as a professional association by providing services, assistance and advice on

matters of legal concern to the community; to preserve high standards of integrity, honor and

professional courtesy among Latino lawyers; and utilize legislation, advocacy and education to

accomplish these goals. MABA-TX is a membership organization, and members of MABA-TX

reside throughout Texas. Members of MABA-TX include: Latino registered voters of Texas who

are injured by the dilution of Latino voting strength statewide, and Latino registered voters of

Texas who reside in districts that are overpopulated relative to other districts in the state and also

districts whose boundaries dilute Latino voting strength.

17.     Plaintiff TEXAS HISPANICS ORGANIZED FOR POLITICAL EDUCATION (“TEXAS

HOPE”) is a non-profit organization that seeks to empower Latinos in Texas through civil

engagement, civic education and outreach. TEXAS HOPE’s activities include voter registration

of Latino citizens, Get-Out-The-Vote activities, poll watcher service, administering voter

education workshops and legislative advocacy on issues important to the Latino community,

including education, voting rights, immigrants’ rights, healthcare and housing. TEXAS HOPE is

a membership organization, and members of TEXAS HOPE reside throughout Texas. Members

of TEXAS HOPE include: Latino registered voters of Texas who are injured by the dilution of

Latino voting strength statewide, and Latino registered voters of Texas who reside in districts that

are overpopulated relative to other districts in the state and also districts whose boundaries dilute

Latino voting strength.

18.     Plaintiff WILLIAM C. VELASQUEZ INSTITUTE (“WCVI”) is a non-profit and non-

partisan public policy analysis organization that conducts research to improve the level of political



                                                  6
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 7 of 26




and economic participation in Latino and other underrepresented communities. WCVI uses its

research to provide information relevant to the needs of its constituents to Latino community

leaders, including political behavior and opinions of Latinos and the impact of public policies on

Latinos. WCVI serves with its research and analysis, among others: Latino registered voters of

Texas who are injured by the dilution of Latino voting strength statewide, and Latino registered

voters of Texas who reside in districts that are overpopulated relative to other districts in the state

and also districts whose boundaries dilute Latino voting strength.

19.     Plaintiff FIEL Houston Inc. (“FIEL”) is a non-profit, non-partisan membership

organization in Houston, Texas. FIEL is an immigrant-led organization that advocates for just

laws for immigrant youth and their families, including access to higher education for all people

regardless of immigration status and access to justice for the community. FIEL believes in the

American Dream as a fundamental principle on which they can build and better the lives of all

people in the United States. FIEL believes in social justice and in civic participation to make

things happen. FIEL is a membership organization, and members of FIEL reside primarily in

Houston, Texas. FIEL members include: Latino registered voters of Texas who are injured by the

dilution of Latino voting strength statewide, and Latino registered voters of Texas who reside in

districts that are overpopulated relative to other districts in the state and also districts whose

boundaries dilute Latino voting strength.

20.     Plaintiff   TEXAS      ASSOCIATION         OF     LATINO      ADMINISTRATORS             AND

SUPERINTENDENTS (“TALAS”) is a non-profit organization that advocates for Latino learners’

and leaders’ growth and advancement in Texas. TALAS provides leadership development,

collective impact, advocacy and a proactive voice for Latino and non-Latino leaders passionate

about serving the fastest-growing student population in Texas.            TALAS is a membership



                                                  7
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 8 of 26




organization, and members of TALAS reside throughout Texas. Members of TALAS in Texas

include: Latino registered voters of Texas who are injured by the dilution of Latino voting strength

statewide, and Latino registered voters of Texas who reside in districts that are overpopulated

relative to other districts in the state and also districts whose boundaries dilute Latino voting

strength.

21.     Plaintiff Emelda Menendez is Latina and a registered voter of Texas. She resides in San

Antonio, Texas. In Plans H2316, S2168, C2193 and E2106, Plaintiff E. Menendez resides in Texas

House District 120, Senate District 19, Congressional District 28 and SBOE District 2.

22.     Plaintiff Gilberto Menendez is Latino and a registered voter of Texas. He resides in San

Antonio, Texas. In Plans H2316, S2168, C2193 and E2106, Plaintiff G. Menendez resides in

Texas House District 120, Senate District 19, Congressional District 28 and SBOE District 2.

23.     Plaintiff Jose Olivares is Latino and a registered voter of Texas. He resides in Corpus

Christi, Texas. In Plans H2316, S2168, C2193 and E2106, Plaintiff Olivares resides in Texas

House District 49, Senate District 27, Congressional District 27 and SBOE District 2.

24.     Plaintiff Florinda Chavez is Latina and a registered voter of Texas. She resides in Austin,

Texas. In Plans H2316, S2168, C2193 and E2106, Plaintiff Chavez resides in Texas House District

49, Senate District 21, Congressional District 37 and SBOE District 5.

25.     Plaintiff Joey Cardenas is Latino and a registered voter of Texas. He resides in Louise,

Texas. In Plans H2316, S2168, C2193 and E2106, Plaintiff Cardenas resides in Texas House

District 85, Senate District 17, Congressional District 22 and SBOE District 2.

26.     The dilution of Latino voting strength statewide in Plans H2316, S2168, C2193 and E2106

has injured all plaintiffs, including members of plaintiff organizations. The dilution of Latino

voting strength in individual districts in Plans H2316, S2168, C2193 and E2106 has injured



                                                 8
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 9 of 26




plaintiffs who reside and vote in those individual districts, including members of plaintiff

organizations.

27.     In addition to being malapportioned, the redistricting maps currently in effect for the Texas

House, Senate, congressional and SBOE districts injure all plaintiffs by diluting Latino voting

strength. If the 2022 elections are held under the redistricting maps currently in place, Plaintiffs

will be injured by having their votes diluted by malapportionment.

                                              IV.
                                          DEFENDANTS

28.     Defendant GREGORY W. (“Greg”) ABBOTT is the Governor of Texas, and pursuant to

Article IV, Section I of the Texas Constitution, is the chief executive officer of the State of Texas.

He is sued in his official capacity.

29.     Defendant JOSE A. ESPARZA is the Deputy Secretary of State of Texas. Because the

Office of the Secretary of State of Texas is currently vacant, Esparza, in his official capacity, is

currently responsible for overseeing the conduct of elections within Texas.3 He is sued in his

official capacity.

                                                V.
                                              FACTS

A.      Background

30.     On March 12, 2020, the U.S. Census Bureau commenced the 2020 Census. The following

day, President Donald J. Trump declared the global pandemic COVID-19 a national emergency.

As a result of the COVID-19 pandemic, the Census Bureau suspended field operations until July

2020.    Despite U.S. Commerce Department Secretary Wilbur Ross’s initial support of an

extension, the Census Bureau ended its door-to-door operations on October 15, 2020.



3 Tex. Elec. Code § 31.001(a); Tex. Gov’t Code § 405.004.


                                                  9
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 10 of 26




31.      On April 26, 2021, the U.S. Secretary of Commerce delivered the 2020 Census state

population counts to the President for the purpose of apportioning the seats in the U.S. House of

Representatives.4 On August 12, 2021, the U.S. Secretary of Commerce published the Texas

redistricting data file.5

32.      The U.S. Secretary of Commerce released the Texas redistricting data more than ten weeks

after the Texas Legislature’s 87th Regular Session adjourned sine die on May 31, 2021. The

redistricting data revealed that the Texas House, Senate, congressional and SBOE districts used in

the 2020 election were malapportioned and needed to be redrawn.

33.      On September 7, 2021, Defendant Abbott called a special session of the Texas Legislature

to address redistricting. That special session began on September 20, 2021. Following a highly

compressed legislative process characterized by departures from normal procedure and substantive

considerations, on October 15 and 16, 2021, the Legislature passed redistricting plans for the Texas

House (Plan H2316), Senate (Plan S2168) and SBOE (Plan E2106); on October 17, 2021, a

conference committee of the Texas House and Senate reported out a redistricting plan for Congress

(Plan C2193).

B.       Texas’s 2020 House, Senate, Congressional and SBOE Maps

34.      Texas’s congressional and state legislative maps used in the 2020 election were drawn to

remedy findings of minority vote dilution in the previous redistricting cycle. See Abbott v. Perez,

138 S. Ct. 2305, 2316–17, 2330 (2018).



4 U.S. Census Bureau, “2020 Census Apportionment Results Delivered to the President,” available at

https://www.census.gov/newsroom/press-releases/2021/2020-census-apportionment-results.html (last
visited October 14, 2021).
5 U.S. Census Bureau, “2020 Census Statistics Highlight Local Population Changes and Nation’s Racial

and Ethnic Diversity- U.S. Census Bureau Delivers Data for States to Begin Redistricting Efforts ,”
available at https://www.census.gov/newsroom/press-releases/2021/population-changes-nations-
diversity.html (last visited October 14, 2021).

                                                  10
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 11 of 26




35.      In 2011, Texas enacted Texas House, Senate and SBOE redistricting plans during the 82nd

Legislature’s regular session. In a subsequent special session that same year, the Legislature

adopted a congressional redistricting plan. At that time, Texas was required to obtain preclearance

under Section 5 of the Voting Rights Act of 1965 before it could implement its redistricting plans;

only the enacted SBOE redistricting plan received preclearance and went into effect for the 2012

election.

36.      When Texas failed to secure preclearance for its House, Senate and congressional

redistricting plans, the Perez court created interim maps for the 2012 election. In those maps, the

Perez court redrew certain districts pursuant to instructions from the U.S. Supreme Court. Both

the congressional remedial plan and the plan for the Texas House departed significantly from the

State’s 2011 plans. At least 8 of the 36 congressional districts and 21 districts in the plan for the

Texas House were changed. Id. at 2316. In 2017, following trial, the Perez court concluded that

the 2011 State House and congressional plans unlawfully diluted minority voting strength and

intentionally discriminated against minority voters.

37.      In 2013, Texas enacted the Court’s interim remedial plans, with some changes to the Texas

House plan. Following another trial, the Perez court concluded that one of those changes by Texas,

to House District 90, was an unconstitutional racial gerrymander. The U.S. Supreme Court

affirmed that ruling, id. at 2334–35, and the Perez court redrew House District 90 in May 2019 to

remedy the constitutional violation.

38.      Thus, as recently as 2019, a federal court redrew Texas district boundaries to cure racial

discrimination. Nevertheless, history repeated itself in the Texas Legislature in 2021.

C.       Results of the 2020 Census

39.      According to the 2020 Census, the total population of Texas is 29,145,505. That figure



                                                 11
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 12 of 26




represents a significant increase from a decade ago, when the 2010 Census reported a total

population of 25,145,561. Texas experienced the third-largest percent increase in the population

of any state in the United States, and it is the only state to gain two congressional seats in the 2020

congressional apportionment. Beginning with the 2022 election, Texas voters will elect 38

members to the United States House of Representatives.

40.      According to the 2020 Census, the Latino population of Texas is 11,441,717. Latinos

constituted 50% of the total population growth in Texas between 2010 and 2020. Latinos are now

39.3% of Texas’s population, and Anglos are now 39.7% of the state’s population (a decrease from

45.3% a decade ago). The Latino citizen voting age population of Texas is 30% of the total citizen

voting age population.

41.      The pattern of strong Latino population growth relative to Anglo population growth was

consistent across the state: in Bexar County, the Latino population increased by 184,000, and the

Anglo population increased by only 16,609; in Dallas County, the Latino population increased by

151,895, and the Anglo population decreased by 59,706; and in Harris County, the Latino

population increased by 363,169, and the Anglo population decreased by 40,053.

42.      In the new redistricting maps, the ideal population is: 194,303 for a State House district;

940,178 for a State Senate district; 766,987 for a congressional district; and 1,943,034 for an SBOE

district.

D.       The Legislature adopts new redistricting plans during a special session called by
         Defendant Abbott.

43.      The Texas Legislature convened its 87th Regular Session on January 12, 2021, and

adjourned sine die on May 31, 2021. The Legislature did not enact redistricting plans during this

time because the Census Bureau had not yet released the redistricting data file for Texas.

44.      The U.S. Secretary of Commerce published the redistricting data file for Texas on August


                                                  12
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 13 of 26




12, 2021, more than ten weeks after the Legislature’s 87th Regular Session.



45.      On August 31, 2021, in its second special session, the 87th Texas Legislature passed Senate

Bill 1, a controversial new law that prohibits certain voting methods adopted during the COVID-

19 pandemic (such as 24-hour and drive-thru voting), increases requirements for assisting limited

English proficient and disabled voters, and prohibits certain assistance to mail voters.

46.      On September 7, 2021, Defendant Abbott announced a third special session of the 87th

Texas Legislature to address redistricting. The third special session began on September 20, 2021.

Texas House Plan

47.      On September 30, 2021, Texas Representative Todd Hunter filed House Bill 1, a

redistricting plan for the Texas House. The presiding officer referred the bill to the House

Redistricting Committee the same day.

48.      After the committee held a public hearing on House Bill 1 on October 4, 2021, the next

day Representative Hunter introduced a committee substitute for the bill, and the committee voted

out the bill the same day. The committee did not hold a hearing on the substitute bill before voting

it out of committee; as a result, there was no opportunity for public testimony on the substitute bill.

49.      On October 12, 2021, the full House heard House Bill 1 on second reading. On October

13, 2021, the Texas House passed House Bill 1 on the third reading and reported the bill to the

Senate. On October 15, 2021, the Senate Special Committee on Redistricting held a public hearing

on House Bill 1 and voted the bill out of committee. The full Senate passed House Bill 1 that same

day and adopted Plan H2316.

Texas Senate and SBOE Plans

50.      On September 18, 2021, Texas Senator Joan Huffman filed Senate Bill 4, a redistricting



                                                  13
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 14 of 26




plan for the Texas Senate.



51.      On September 20, 2021, Senator Huffman filed Senate Bill 7, a redistricting plan for the

SBOE. That same day, the lieutenant governor referred Senate Bills 4 and 7 to the Senate Special

Committee on Redistricting, and the committee issued a hearing notice for both bills for September

24, 2021.

52.      However, the evening before the committee held its hearing, Senator Huffman filed a

committee substitute for Senate Bill 4.      As a result, most witnesses were deprived of the

opportunity to analyze the committee substitute and modify their testimony before the hearing the

following day.

53.      On September 24 and 25, 2021, the Senate Special Committee on Redistricting held a

public hearing on both bills. The committee voted out both bills on September 28, 2021.

54.      On October 4, 2021, the Texas Senate passed both bills.

55.      On October 11, 2021, the House Redistricting Committee held a public hearing on both

bills, and that same day, the committee voted out both bills. On October 15, 2021, the full House

passed Senate Bills 4 and 7, adopting Plans S2168 and E2106, respectively.

Congressional Plan

56.      On September 27, 2021, Senator Huffman filed Senate Bill 6, a redistricting plan for

congressional districts, and the lieutenant governor referred the bill to the Senate Special

Committee on Redistricting.

57.      On September 30, 2021, the Senate Special Committee on Redistricting held a public

hearing on Senate Bill 6 and left it pending. On October 4, 2021, the Senate Special Committee

on Redistricting held a public hearing on committee amendments for Senate Bill 6 and voted out



                                                14
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 15 of 26




a committee substitute. On October 8, 2021, the full Senate passed Senate Bill 6. That same day,

the House received the bill, and the presiding officer referred it to the House Redistricting

Committee.

58.      On October 13, 2021, the House Redistricting Committee held a public hearing on the bill

and voted it out that same day.

59.      On October 16, 2021, the full House adopted several amendments to Senate Bill 6 and

passed the bill on the second reading.

60.      On October 17, 2021, the House passed the amended version of Senate Bill 6 on the third

reading, and the Senate refused to concur with the amendments. That same day, Senate Bill 6 was

referred to a conference committee, and the Senate and House appointed conferees.

61.      On October 17, 2021, the Senate and House conference committee met and reported out

Plan C2193.

E.       The Legislature departed from its normal procedures and failed to consider
         substantive factors important in redistricting.

62.      The 87th Texas Legislature’s adoption of Plans H2316, S2168, C2193 and E2106 included

departures from normal procedures and departures from substantive considerations usually

considered important by the Legislature in redistricting.

63.      For example, both the Texas House Redistricting Committee and the Senate Special

Committee on Redistricting offered little advance notice of their hearings on the redistricting bills.

On the night before the hearing of the Senate Special Committee on Redistricting on the proposed

Senate map, Senator Huffman, the Senate Redistricting Committee Chair, released a committee

substitute for Senate Bill 4, and the next day the committee held a hearing on the committee

substitute. The House Redistricting Committee held a public hearing on the Texas House

redistricting map on October 4, 2021 but on October 5, 2021, Representative Hunter, the House

                                                 15
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 16 of 26




Redistricting Committee Chair, introduced a committee substitute for House Bill 1 and took no

public testimony. The committee voted out the committee substitute within 15 minutes. On

October 12, 2021, the House Redistricting Committee provided only 24-hour notice for a public

hearing on the proposed congressional redistricting map and allowed only 12 hours for the public

to register for virtual testimony. On October 16, 2021, the full House adopted several amendments

to the proposed congressional redistricting map and provided no opportunity for public input on

the amendments.

64.      Statements from the House and Senate committee chairs reveal departures from the normal

and required substantive standards during the redistricting process. For example, Senator Joan

Huffman, who authored the State Senate and SBOE maps and chairs the Senate Redistricting

Committee, told lawmakers and the public that the maps were “drawn blind to race.”6

65.      Similarly, State Representative Todd Hunter, who authored the State House map and chairs

the House Redistricting Committee, told lawmakers and the public that the House map created and

evaluated majority-minority districts based on voting age population, instead of citizen voting age

population, because citizen voting age population data is “not the same [as those] based on census

numbers.”7

66.      Throughout the process, members of the Legislature, civil rights advocates and community

members warned the legislative leadership that the proposed plans violated minority voting rights

but the Legislature did not cure the identified deficiencies.

Texas House Plan



6 Associated Press, “Texas GOP advances new maps that would tighten slipping grip,” October 17, 2021,

available at https://apnews.com/article/austin-texas-race-and-ethnicity-racial-injustice-elections-
4a40e921b8cec9449e24ed5adc637d87
7 Texas Tribune, “Texas House committee advances proposed map for lower chamber,” October 5, 2021,

available at https://www.texastribune.org/2021/10/05/texas-house-redistricting-committee-map/

                                                 16
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 17 of 26




67.      During its hearing on October 4, 2021, the Texas House Redistricting Committee failed to

allow any invited testimony, which provides an opportunity for a legislative committee to hear

from experts in the field. Additionally, at the beginning of the hearing, Committee Chair

Representative Todd Hunter announced that the committee would vote the bill out at the end of

the hearing, which foreclosed any possibility that the committee would reevaluate the plan or make

changes based on witness testimony.

68.      Chair Hunter also limited his bill layout for House Bill 1 to one hour and did not allow

committee members to ask him questions during the bill layout. Instead, Chair Hunter told

committee members that they could submit written questions to him and that he would respond to

them either after the hearing or on the House floor.

69.      On October 5, 2021, the House Redistricting Committee reconvened for 15 minutes.

During that time, Chair Hunter introduced a committee substitute for House Bill 1 but did not

allow any testimony. The committee voted out the substitute bill at the end of the hearing.

70.      On October 13, 2021, the House passed House Bill 1. The House sent the bill to the Senate

that same day, and the lieutenant governor referred the bill to the Senate Special Committee on

Redistricting. On October 15, 2021, the Senate Special Committee on Redistricting held a public

hearing on House Bill 1. The hearing lasted less than one hour, and the committee voted out the

bill at the end of the hearing.

71.      The Senate then suspended a rule for the regular order of business, voting out House Bill

1 the same day.

Texas Senate and SBOE Plans

72.      On September 20, 2021, the Senate Special Committee on Redistricting issued a hearing

notice for Senate Bills 4 and 7, setting a hearing on both bills for September 24, 2021.



                                                17
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 18 of 26




73.      Senator Huffman filed a substitute for Senate Bill 4 on September 23, 2021, the night

before the hearing.

74.      On September 24 and 25, 2021, the Senate Special Committee on Redistricting held a

public hearing on Senate Bill 7 and the committee substitute for Senate Bill 4. The committee

voted out both bills on September 28, 2021.

75.      On October 4, 2021, the full Senate voted to suspend the printing rule for Senate Bills 4

and 7. That same day, the Senate passed both bills on the second and third readings.

76.      On October 11, 2021, the House Redistricting Committee held a public hearing on Senate

Bills 4 and 7. The committee did not allow for invited testimony on either bill during the hearing,

and Committee Chair Hunter limited his bill layout time for each bill to 30 minutes. At the

beginning of the hearing, Chair Hunter announced that the committee would vote out both bills at

the end of the hearing, and any introduced committee amendments would occur during the hearing.

77.      Chair Hunter’s announcements changed normal procedure. Typically, committees do not

hear and vote on bills on the same day, and votes for introduced amendments are set for a later

time.    The normal procedure gives the committee members sufficient time to review the

amendments before voting on them and the bill. Thus, because of these changes in procedures,

committee members and the public lacked time to review sufficiently the bills and any proposed

amendments.

78.      That same day, the committee voted out both bills.

Congressional Plan

79.      On October 12, 2021, the House Redistricting Committee issued a notice for a public

hearing on Senate Bill 6, setting the hearing for the very next day. The committee thus gave only

24 hours notice of the hearing. The committee also provided only 12 hours for the public to register



                                                18
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 19 of 26




to give virtual testimony at the hearing.

80.      At the public hearing on October 13, 2021, Chair Hunter limited the bill layout to just one

hour. At the beginning of the hearing, Chair Hunter announced that the committee would vote out

the bill at the end of the hearing and that it would not consider committee amendments until after

public testimony. The committee did not allow invited testimony. That same day, the committee

voted out the bill.

F.       The Newly Adopted Maps Dilute the Voting Strength of Latinos

81.      Latinos in Texas--including the areas in which Latino-majority Texas House, Texas Senate,

congressional and SBOE districts can be created--are politically cohesive.

82.      Anglos in Texas vote sufficiently as a bloc to enable them--in the absence of special

circumstances, such as a Latino candidate running unopposed-- usually to defeat the Latino voters’

preferred candidates, including the areas in which Latino majority Texas House, Texas Senate,

congressional and SBOE districts can be created.

83.      Plans H2316, S2168, C2193 and E2106 interact with social and historical conditions to

cause an inequality in the opportunity of Latino voters to elect representatives of their choice as

compared to Anglo voters. Because these factors are present, Plans H2316, S2168, C2193 and

E2106 have the effect of diluting Latino voting strength statewide and in specific districts.

84.      Plans H2316, S2168, C2193 and E2106 also discriminate against Latino voters statewide,

and in specific districts, by intentionally manipulating district boundaries to reduce Latino voting

strength and by making improper and excessive use of race in redistricting.

Texas House Representatives Plan

85.      In the current (also referred to herein as the “benchmark”) House plan, which contains 150

House districts, 33 districts contain a majority Latino citizen voting age population (“CVAP”).



                                                 19
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 20 of 26




86.      Newly-adopted Plan H2316 reduces the number of Latino CVAP majority districts. In

Plan H2316, 30 House districts contain a majority Latino CVAP.

87.      The Latino population of Texas is sufficiently numerous and geographically compact to

constitute the majority of the CVAP in more than 30 Texas House districts.

88.      For example, although the Harris County Latino population has increased by 363,169

people over the past decade, Plan H2316 fails to add any Latino majority House district there.

89.      Despite the dramatic growth of the Latino population in Texas since 2010, the failure of

Plan H2316 to create at least one additional Latino majority House district statewide means that

Latinos have lost voting strength in Texas.

90.      In addition to failing to create additional Latino majority districts to reflect Latino

population growth in Texas, Plan H2316 weakens existing Latino majority districts. For example,

Plan H2316 moves House District 76--currently a Latino majority district--from El Paso County

to Fort Bend County. In doing so, Plan H2316 reduces the Latino CVAP to well below 50% in

House District 76.

91.      Plan H2316 also weakens Latino voting strength in House District 118 in Bexar County

while simultaneously increasing Latino voting strength in nearby House Districts 117 and 124,

two existing Latino opportunity districts in the county. Plan H2316 weakens House District 118

by manipulating population into and out of House District 117, 118 and 124 based on race.

92.      Plan H2316 also creates a total, or “top to bottom,” deviation of 9.98% by overpopulating

Latino majority districts and underpopulating Anglo majority districts to avoid drawing new

Latino majority districts. The systematic overpopulation of Latino majority districts dilutes Latino

voting strength in the State House plan.

Texas Senate Plan



                                                20
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 21 of 26




93.      The benchmark Senate plan contains 31 Senate districts, seven of which contain a majority

Latino CVAP. Plan S2168 maintains the same number of Senate districts that contain a majority

Latino CVAP.

94.      The Latino population of Texas is sufficiently numerous and geographically compact to

comprise the majority of the CVAP in at least 9 Senate districts.

95.      Despite the dramatic growth of the Latino population in Texas since 2010, the failure of

Plan S2168 to create additional Latino majority Senate districts means that Latinos have lost voting

strength in Texas.

SBOE Plan

96.      The benchmark SBOE plan contains 15 SBOE districts, three of which contain a majority

Latino CVAP. Plan E2106 maintains the same number of SBOE districts with a majority Latino

CVAP.

97.      The Latino population of Texas is sufficiently numerous and geographically compact to

comprise the majority of the CVAP in at least 4 SBOE districts.

98.      Despite the dramatic growth of the Latino population in Texas since 2010, the failure of

Plan E2106 to create an additional Latino majority SBOE district means that Latinos have lost

voting strength in Texas.

99.      Additionally, Plan E2106 weakens Latino voting strength in SBOE District 3--a district in

South Texas--by manipulating precincts into and out of SBOE District 3 based on race.

Congressional Plan

100.     The benchmark congressional plan contains a total of 36 congressional districts, eight of

which contain a majority Latino CVAP. Plan C2193 contains a total of 38 congressional districts,

seven of which contain a majority Latino citizen voting age population.



                                                21
   Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 22 of 26




101.   The significant growth of the Latino population in Texas since 2010 allowed Texas to gain

one, if not both, of its two new congressional districts. Despite the growth of the Latino population

over the past decade, Plan C2193 dilutes Latino voting strength by failing to create any additional

Latino CVAP majority congressional districts.

102.   The Latino population of Texas is sufficiently numerous and geographically compact to

comprise the majority of the CVAP in at least two additional congressional districts.

103.   In addition to failing to create additional Latino majority districts to reflect Latino

population growth in Texas, C2193 weakens existing Latino majority districts.

104.   For example, in South Texas, Plan C2193 weakens Latino voting strength in Congressional

District 15 by intentionally “packing” Latino voters into neighboring Congressional District 34.

Plan C2193 also weakens the Latino voting strength in Congressional District 23. Defendants

accomplish the weakening of both districts by manipulating precincts into and out of the districts

based on race.

                                            VI.
                                     CAUSES OF ACTION

                                            COUNT 1

         Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution
                                    (racial discrimination)

105.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

106.   Texas House Plan H2316, Senate Plan S2168, Congressional Plan C2193 and SBOE Plan

E2106 discriminate against Plaintiffs on the basis of race and national origin in violation of the

14th Amendment to the U.S. Constitution.

                                            COUNT 2

         Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution
                           (unconstitutional population deviations)

                                                 22
   Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 23 of 26




107.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

108.   The Equal Protection Clause of the Fourteenth Amendment to the U.S. Constitution

“requires that the seats in both houses of a bicameral state legislature [] be apportioned on a

population basis.” Reynolds v. Sims, 377 U.S. 533, 568 (1964).

109.   In light of the significant population shifts that have occurred in Texas since the 2010

Census, Texas’s current State House (H2100), State Senate (S2100), congressional (C2100) and

SBOE (E2100) redistricting plans – which were drawn based on 2010 Census data – are

unconstitutionally malapportioned.       Any future use of Texas’s current state legislative,

congressional and SBOE redistricting plans would violate the Plaintiffs’ constitutional right to an

undiluted vote.

110.   In addition, the Texas House Plan H2316 has a total or “top to bottom” deviation of 9.98%.

Defendants achieved this deviation by overpopulating Latino majority districts and

underpopulating Anglo majority districts to avoid drawing new Latino majority districts and

minimize Latino voters’ opportunity to participate in the political process. There is no legal

justification for maintaining a deviation of 9.98% when it has such an adverse impact on Latino

voting strength. This 9.98% deviation violates the one person, one vote principle of the Fourteenth

Amendment of the United States Constitution.

                                             COUNT 3

                                 Section 2 of the Voting Rights Act

111.   Plaintiffs incorporate by reference all preceding paragraphs as if fully set forth herein.

112.   Texas House Plan H2316, Senate Plan S2168, Congressional Plan C2193 and SBOE Plan

E2106 result in a denial or abridgment of the right to vote of individual plaintiffs and organizational

plaintiffs’ members on account of their race, color or ethnicity by having the intent and effect of

                                                  23
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 24 of 26




canceling out or minimizing their voting strength as Latinos in Texas. Texas House Plan H2316,

Senate Plan S2168, Congressional Plan C2193 and SBOE Plan E2106 do not afford individual

plaintiffs and organizational plaintiffs’ members an equal opportunity to participate in the political

process and to elect representatives of their choice, and deny individual plaintiffs and

organizational plaintiffs’ members the right to vote in elections without distinction of race, color

or previous condition of servitude in violation of 52 U.S.C. §§ 10301 and 10304.

                                        VII.
                           REQUEST FOR THREE JUDGE COURT

113.     Plaintiffs request a three-judge trial court pursuant to 28 U.S.C. § 2284.

                                            VIII.
                                       ATTORNEY’S FEES

114.     In accordance with 42 U.S.C. § 1988 and 52 U.S.C. § 10310(e), Plaintiffs are entitled to

recover reasonable attorney’s fees, expenses and costs.

                                                IX.
                                              PRAYER

115.     WHEREFORE, PREMISES CONSIDERED, Plaintiffs pray that this Court:

(a)      assume jurisdiction of this action and request a three-judge panel pursuant to 28 U.S.C. §

2284;

(b)      issue a declaratory judgment finding that the Texas House Plan H2316, Senate Plan S2168,

Congressional Plan C2193 and SBOE Plan E2106 illegally and unconstitutionally dilute the voting

strength of Latino voters in Texas and are unlawful, null and void;

(c)      issue a declaratory judgment finding that the Texas House Plan H2100, Senate Plan S2100,

Congressional Plan C2100 and SBOE Plan E2100 are unconstitutionally malapportioned and

cannot be used for future elections;

(d)      permanently enjoin Defendants from calling, holding, supervising or certifying any

                                                  24
      Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 25 of 26




elections under Texas House Plan H2316, Senate Plan S2168, Congressional Plan C2193 and

SBOE Plan E2106. Plaintiffs have no adequate remedy at law other than the judicial relief sought

herein, and unless the Defendants are enjoined from using Texas House Plan H2316, Senate Plan

S2168, Congressional Plan C2193 and SBOE Plan E2106, individual plaintiffs and organizational

plaintiffs’ members will be irreparably harmed by the continued violation of their statutory and

constitutional rights;

(e)      set a reasonable deadline for state authorities to enact or adopt redistricting plans for Texas

House, Senate, Congress and SBOE that do not dilute, cancel out or minimize the voting strength

of Latino voters;

(f)      if state authorities fail to enact or adopt valid redistricting plans by the Court’s deadline,

order new redistricting plans for Texas House, Senate, Congress and SBOE that do not dilute,

cancel out or minimize the voting strength of Latino voters;

(g)      adjudge all costs against Defendants, including reasonable attorney’s fees;

(h)      retain jurisdiction to render any and all further orders that this Court may; and

(i)      grant any and all further relief to which Plaintiffs may show themselves to be entitled.


DATED: October 18, 2021                         Respectfully submitted,

                                                MEXICAN AMERICAN LEGAL DEFENSE
                                                AND EDUCATIONAL FUND

                                                /s/ Nina Perales
                                                Nina Perales
                                                Texas Bar No. 24005046
                                                Samantha Serna
                                                Texas Bar No. 24090888
                                                Fatima Menendez*
                                                Texas Bar No. 24090260
                                                Kenneth Parreno*
                                                Massachusetts Bar No. 705747
                                                110 Broadway, Suite 300

                                                   25
   Case 3:21-cv-00259-DCG-JES-JVB Document 1 Filed 10/18/21 Page 26 of 26




                                             San Antonio, TX 78205
                                             (210) 224-5476
                                             FAX (210) 224-5382

                                             *Application for admission pro hac vice
                                             forthcoming


                                     Certificate of Service

       The undersigned counsel hereby certifies that she has electronically submitted for filing a
true and correct copy of the above and foregoing in accordance with the Electronic Case Files
System of the Western District of Texas on the 18th day of October 2021.


                                             /s/ Nina Perales
                                             Nina Perales




                                               26
